                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

AMERICAN MODERN HOME                         )
INSURANCE COMPANY,                           )
                                             )
              Plaintiff,                     )
                                             )
      v.                                     )     Case No. 4:16 CV 215 CDP
                                             )
AARON THOMAS, et al.,                        )
                                             )
              Defendants.                    )

                            MEMORANDUM AND ORDER

       After I granted defendant Aaron and Aimee Thomases' motion to quash the

deposition of Carl Welcher, plaintiff American Modern Home Insurance Company

filed a motion to alter or amend the Order seeking various forms of alternative

relief. I will deny the motion.

       When I granted the motion to quash, I stated quite clearly that “the

deposition of Carl Welcher will not go forward.” (Order, ECF #93.) American

Modern Home now seeks clarification asking whether I meant for the deposition to

not go forward only on the day it was originally noticed, that is, March 30, or for it

to not go forward at all. It is clear what I meant by the Order given that I granted

the Thomases' motion to quash, which requested that American Modern Home not

be permitted to depose Welcher on the existing notice or on any amended notice of

deposition. I did not qualify my Order or limit it to a particular time frame.
 American Modern Home's request that I clarify my Order will be denied.

        I will also deny American Modern Home's request that I reconsider my

 Order or at least set out my reasons for ruling the way I did. I carefully considered

 the arguments of the parties on the motion to quash and obviously agreed with the

 Thomases' position, or else I would not have granted their motion. I need not state

 findings and conclusions when ruling such a motion. Fed. R. Civ. P. 52(a)(3).

 American Modern Home has presented nothing to persuade me that my ruling was

 incorrect.

        Finally, American Modern Home wants to know the extent to which I will

 allow it to present evidence and testimony from Welcher at trial. This request is

 premature and will not be addressed.

        Accordingly,

        IT IS HEREBY ORDERED that plaintiff American Modern Home

Insurance Company's Motion to Alter/Amend the Court's Order Quashing the

Deposition of Carl Welcher [95] is DENIED.



                                             _____________________________
                                             CATHERINE D. PERRY
                                             UNITED STATES DISTRICT JUDGE


Dated this 22nd day of May, 2017.




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